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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------x
KAYLIN JOHN, by her m/n/ g, YVONNE PEACE,
TYRA ROBINSON, KIMBERLEY BROWER
and RAVENNE HINDS

                                                              Plaintiff       SECOND AMENDED
                                                                                 COMPLAINT
                                         -against-
                                                                              PLAINTIFFS DEMAND
THE CITY OF NEW YORK,                                                         TRIAL BY JURY
P.O. EDGAR GARCIA, Sh. # 3118,
P.O. BENJAMIN PALEY, Sh. # 9422, LT
JOHNATHAN SIMONS, Sh. # 6512, P.O. PAUL LAW,
Sh. # 6512, P.O. ALEX SERVIA, Sh. # 14640
& P.O. JOHN DOE 1-10

                                                                              17-cv-0038
                                   Defendants

----------------------------------------------------------------------X


      Plaintiffs, above named, through their attorney, Michael Colihan, as and for their
complaint in this action against the defendants, respectfully set forth and allege as follows:


                                PRELIMINARY STATEMENT


        1. This is a civil action for damages brought to redress the deprivation by

defendants of the rights secured to plaintiffs under the Constitution and laws of the United States

and the State of New York. The defendants, upon information & belief without probable cause,

unlawfully arrested and falsely imprisoned the plaintiffs in New York County . The plaintiffs

suffered loss of liberty and serious and severe psychological injuries, the full nature and extent of

which have yet to be determined. The plaintiffs did not consent to any confinement and it was not

otherwise privileged. The plaintiffs were eventually released and, upon information & belief, no
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criminal charges were ever brought of filed against them, nor were they arraigned before any

judge. By the filing of this complaint, the plaintiff now alleges that the individual defendants, the

City of New York & the New York City Police Department violated their rights under 42 USC

Section 1983 and 1988, the 4th Amendment of the United States Constitution and New York

State law. In addition, the plaintiffs invoke the pendant jurisdiction of this court to assert claims

arising under state law. The plaintiffs allege that the incidents that are the subject of their

complaint are part of a pattern of false arrests and civil rights violations against persons of color,

as well as others, by members of The New York City Police Department . The motivation for

these unlawful arrests is, upon information & belief, overtime compensation for the arresting

officers and the statistical needs of the NYPD. The City has displayed a deliberate indifference to

this unlawful and perjurious activity by its employees.


                                      JURISDICTION


        2. That the jurisdiction of this Court is invoked under the provisions of Section 1331 &

1343 of Title 28 and Sections 1983 & 1988 of Title 42 of the United States Code, as well as the

Fourth and Fourteenth Amendments to the Constitution of the United States. Plaintiff further

invokes the supplemental jurisdiction of this Court pursuant to 28 USC Section 1367 to hear and

decide his New York State Law claims of false arrest, false imprisonment, and the intentional

and negligent infliction of mental & emotional distress against the individual defendant police

officers. These state law claims form part of the same case and controversy as plaintiff’s federal

claims under Article III of the United States Constitution.




        3. Because plaintiff’s state law claims are brought only against the individual defendant

police officers and allege intentional conduct, no notice of claim is required. In suits against
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municipal or county employees, as opposed to suit against municipalities themselves, “ service of

the notice of claim upon the public corporation shall be required only if the corporation has a

statutory obligation to indemnify such person under this chapter or any other provision of law”

N.Y. Gen. Mun. Law Section 50- e (1) n(b).



       4. Venue is properly laid in the Southern District of New York in that this is the District

where the claim arose, especially with respect to the managers of the City of New York and The

New York City Police Department who allow the unlawful acts complained of to continue as

well as the false arrest & incarceration of the plaintiffs and the assault upon them, which

occurred in New York County.

                                  JURY DEMAND



       5. Plaintiffs respectfully demand a trial by jury of all issues in this matter pursuant to

Federal Rule of Civil Procedure 38 (b).



                                PARTIES

       6. The plaintiff KIMBERLEY BROWER is a female and a resident of the City and State

of New York and the County of Kings.


       7. The plaintiff KAYLIN JOHN is a female under the age of 18 years and a resident of

the City and State of New York and the County Kings. Her mother is YVONNE PEACE.



       8. The plaintiff TYRA ROBINSON is a female aged of 18 years and a resident of the

City and State of New York and the County of Kings.
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       9. The plaintiff RAVENNE HINDS is a female and a resident of the City and State of

New York and the County of Kings.



       10. The defendant THE CITY OF NEW YORK was and is a municipal corporation

organized and existing under the laws of the City and State of New York.



        11. The defendant THE CITY OF NEW YORK maintains, operates, manages and

controls the New York City Police Department ( hereinafter referred to as “NYPD”) a duly

authorized police department authorized, organized and existing to perform and carry out all

functions of a police department as per the applicable laws, rules, statues and ordinances of the

aforementioned municipal corporation THE CITY OF NEW YORK.



        12.That the defendant P.O. EDGAR GARCIA, Sh. # 3118 was and is an agent, servant
and employee of the defendant the City of New York .


         13.That the defendant P.O. BENJAMIN PALEY, Sh. # 9422 was and is an agent,
servant and employee of the defendant the City of New York .


       14.That the defendant LT. JOHNATHAN SIMONS, was and is an agent, servant and
employee of the defendant the City of New York .


       15.That the defendant P.O. PAUL LAW, Sh. # 6512 was and is an agent, servant and
employee of the defendant the City of New York .


       16.That the defendant P.O. ALEX SERVIA, Sh. # 14640 was and is an agent, servant
and employee of the defendant the City of New York .


        17.That the defendants POLICE OFFICERS JOHN DOE 1- 10 were and are agents,
servants and employees of the defendant the City of New York .
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                           STATEMENT OF RELEVANT FACTS


        18. That on or about the first day of August, 2016, the plaintiffs were lawfully in the City

and State of New York in the County of New York, at or near 1533 York Avenue.



       19. The plaintiffs were committing no crime at that time and were not acting in a

suspicious manner.

       20. At the aforesaid time and place the plaintiffs were unlawfully and without just cause,

approached, accosted, assaulted, falsely arrested and falsely imprisoned by the aforementioned

officers of THE NEW YORK CITY POLICE DEPARTMENT who were agents, servants and

employees of the defendant THE CITY OF NEW YORK who were acting under color of law

during the aforesaid transactions.



         21. The defendant officers continued to imprison the plaintiffs after their unlawful

arrest. They were eventually released from police custody without being brought before a judge

and, upon information & belief, no criminal charges were brought against them.



        22. The defendant individual officers began said prosecution with malice and otherwise

caused said prosecution to be commenced against the plaintiff for the reason of obtaining a

collateral objective outside the lawful and legitimate ends of the legal process, to avoid discipline

for the aforementioned abuse of authority, to obtain overtime compensation and to obtain credit

for an arrest.



        23. All of the foregoing took place as a direct and foreseeable result of the
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unconstitutional policies, customs and practices of the City of New York and the NYPD,

including, without limitation, the falsification of evidence, criminal court complaints and other

things to justify the arrest and prosecution of innocent people, including the plaintiffs .



       24. The events complained of are not isolated incidents. Defendant CITY OF NEW

YORK, and its agents , servants and employees, especially its counsel, managers and supervisors

are all aware, from lawsuits brought in New York State Supreme Court and the Federal District

Courts for the Eastern and Southern Districts of New York, which are matters of public record,

notices of claim, complaints filed with the NYPD’s Internal Affairs Bureau (IAB) and the CITY

OF NEW YORK’S Civilian Complaint Review Board or “CCRB” that many officers of the

NYPD, including the defendants, are not sufficiently trained regarding the law of arrest, the

definition of probable cause, and are engaging in a pattern of falsification to conceal their abuse

of authority and for other unlawful motives.



       25. Defendant THE CITY OF NEW YORK is further aware that such improper training

has often resulted in a violation of people’s civil rights. Despite such notice, defendant CITY OF

NEW YORK has failed to take corrective action. This failure to act was a direct result of the acts

complained of.



       26. Further, upon information and belief, defendant CITY OF NEW YORK was aware,

prior to the incident that is the subject of this complaint, that the individual defendants lacked the

temperament, objectivity, maturity, discretion and proper disposition to function lawfully as

police officers. Despite such notice, the defendant THE CITY OF NEW YORK has retained such

officers, and failed to adequately train and supervise them.
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       27. By reason of the foregoing, plaintiffs sustained injury and damage as described above.




       AS AND FOR A FIRST CLAIM ON BEHALF OF THE PLAINTIFF
            KAYLIN JOHN by her m/n/g YVONNE PEACE
            Deprivation of Rights under 42 U.S.C. Section 1981 & 1983


              28. The plaintiff repeats the foregoing allegations



              29. Each, every and all of the aforementioned acts of defendants, their agents,

servants and employees were performed and carried out under color of law.

              30. All of the above described acts deprived plaintiff KAYLIN JOHN of the rights,

privileges and immunities guaranteed to United States citizens by the Fourth and Fourteenth

Amendments to the United States Constitution and in violation of 42 U.S.C. Section 1983.

             31. The acts which are the subject of this complaint were carried out by the

aforementioned individually named defendants, in their capacities as officers of the NYPD, with

the entire actual and or apparent authority attendant thereto, and with the intent to discriminate

on the basis of race.



             32. The acts which are the subject of this complaint were performed by the

individually named defendants in their capacities as officers of the NYPD, pursuant to the

customs, practices, usages, procedures and rules if the CITY OF NEW YORK and the NYPD, all

under the supervision of ranking officers of said department.



             33. Defendants, collectively and individually, while acting under color of state law,

engaged in conduct and actions that constituted a usage, custom, practice, procedure or rule of
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the respective municipal authority and defendant, THE CITY OF NEW YORK, which is

forbidden by the United States Constitution.

           34. By reason of the foregoing, the plaintiff KAYLIN JOHN is entitled to

compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.



AS AND FOR A SECOND CLAIM ON BEHALF OF KAYLIN JOHN by

                        her m/n/g YVONNE PEACE

               Assault & Excessive Force under 42 U.S.C. Section 1983



                 35. Plaintiff repeats the foregoing allegations.



                36. The Defendants assaulted the plaintiff KAYLIN JOHN without just cause,

used excessive force upon her, causing him to suffer physical and psychological injury. This

included, but was not limited to, placing her in excessively tight handcuffs.



                37. By reason of the foregoing, the plaintiff KAYLIN JOHN is entitled to

compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.




       AS AND FOR A THIRD CLAIM ON BEHALF OF KAYLIN JOHN
                   by her m/n/g YVONNE PEACE
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               False Arrest/Unlawful Imprisonment under 42 U.S.C. Section 1983


                 38. Plaintiff repeats the foregoing allegations .


                  39. The Defendants arrested the plaintiff KAYLIN JOHN without probable
cause, causing her to be detained against her will for an extended period of time and subjected to
physical restraints.


                 40. The individually named defendants caused plaintiff KAYLIN JOHN to be
falsely arrested and unlawfully detained.

                41. By reason of the foregoing, the plaintiff KAYLIN JOHN is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.




AS AND FOR A FOURTH CLAIM ON BEHALF OF KAYLIN JOHN by
                  her m/n/g YVONNE PEACE


                Failure to Intervene under 42 U.S.C. Section 1983


              42. The plaintiff incorporates by reference the allegations set forth in all preceding
paragraphs as if fully set forth herein.



               43. The individual defendants had an affirmative duty and obligation to intervene
on behalf of the plaintiff whose constitutional rights were being violated in their presence and
with their knowledge.


              44. The defendants did not intervene to prevent or terminate the unlawful conduct
described herein.
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              45. By reason of the foregoing the plaintiff had her liberty restricted for an
extended period of time, she was put in fear of his safety, and she was humiliated and subjected
to handcuffing and other physical restraints.



              46. By reason of the foregoing, the plaintiff KAYLIN JOHN is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.



        AS AND FOR A FIFTH CLAIM ON BEHALF OF KAYLIN JOHN by her m/n/g
                                 YVONNE PEACE
                  Supervisory Liability under 42 U.S.C. Section 1983


            47. The plaintiff incorporates by reference the allegations set forth in all preceding
paragraphs as if fully set forth herein


               48.The supervisory defendants personally caused plaintiff’s constitutional injury by
being deliberately and/or consciously indifferent to the rights of citizens in failing to properly
train, select, supervise and discipline their employees


.             49. By reason of the foregoing, the plaintiff KAYLIN JOHN is entitled to
compensatory damages in a sum to be decided by a jury, and is further entitled to punitive
damages against the individual defendants in an amount to be determined by a jury, and, in
addition, reasonable attorney’s fees, costs and disbursements of this action.



            AS AND FOR AN SIXTH CLAIM ON BEHALF OF KAYLIN JOHN by her
                             m/n/g YVONNE PEACE
                  Municipal Liability under 42 U.S.C. Section 1983
                            MONELL VIOLATION



            50. The plaintiff incorporates by reference the allegations set forth in all preceding
 paragraphs as if fully set forth herein.
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       .    51. Defendants, individually and collectively, while acting under color of state law,

engaged in conduct that constituted a procedure, custom, usage, practice, rule and/or regulation

of the municipal authority THE CITY OF NEW YORK which violates the Constitution of the

United States.



            52. The aforementioned procedures, customs, usage, practices, rules and/or

regulations of the NYPD includes, but is not limited to subjecting citizens to excessive force,

arresting people without probable cause and engaging in a practice of falsification to conceal

their abuse of authority. The wrongful acts include perjury and or lying under oath, known in the

NYPD as “testilying”, the planting of, and or perjurious statements with regard to controlled

substances , known in the NYPD as “flaking” and the making of false arrests to obtain overtime

compensation, known in the NYPD as “collars for dollars”



           53. In addition, the NYPD engaged in a practice policy or custom of inadequate

screening, hiring, investigation, retaining, training and supervision of its employees that was the

moving force behind the violation of the plaintiff’s rights as described in this complaint. By

reason of the failure of the CITY OF NEW YORK to properly recruit, screen, train discipline

and supervise its officers, including the individual defendants, In addition, despite receiving

countless notices of claim and complaints of the Supreme Court of the State of New York as

well as the United States District Courts for the Eastern and EASTERN Districts of New York,

and the names and docket numbers of some of these are set forth below, the defendant the

CITY OF NEW YORK has tacitly ratified and authorized the conduct complained of, and has

displayed deliberate indifference to the acts and conduct complained of herein.
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           54 . That the City of New York, through a policy, practice or custom, directly caused

the constitutional violations suffered by the plaintiff.



           55. The foregoing customs, policies usages, practices, procedures and rules of the

defendant the CITY OF NEW YORK constituted deliberate indifference to the safety, well

being and constitutional rights of the plaintiff.     .



           56. A number of members of the New York City Police Department have been

convicted of crimes involving corruption, perjury, making false allegations against civilians and

other criminal activity.



           57. In the year 2011, former Brooklyn South Narcotics Division officer Jerry Bowen

was convicted of homicide and attempted murder while he was under indictment for other

crimes.


           58. Former NYPD Commissioner Bernard Kerik was convicted of corruption related

crimes in connection with his employment with the NYPD and served time in federal prison.



          59. In Colon v the City of New York, Nos. 09 cv 8, 09 cv 9 (JBW) 2009WL 4263362

(EDNY November 25, 2009), the federal court stated that an “ informal inquiry by this court and

among the judges of this court, as well as knowledge of cases in other federal & state courts has

revealed anecdotal evidence of repeated, widespread falsification by arresting officers of the

NYPD.
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          60. With respect to the individually named defendants, the defendant the CITY OF

NEW YORK had notice of the following actions brought in the US District Courts for the

Eastern and Southern Districts of New York. The defendant the CITY OF NEW YORK had

actual notice of all these actions and those set forth in the preceding paragraphs since its Law

Department and Corporation Counsel filed notices of appearance in all these actions and

represented the defendants and /or settled all of same:




         61. Despite the foregoing, the City of New York exercised deliberate indifference to the

aforementioned abuses against civilians such as the plaintiffs by failing to take remedial action.

The City failed to properly train, retain supervise discipline and monitor the defendants ad other

members of the service guilty of similar abuses. Upon information and belief, the officers

involved in these and other similar matters have been the subject of numerous CCRB and IAB

complaints which the City has failed to properly investigate and/ or deliberately ignored.


          62. The City’s failure to act resulted in a violation of the plaintiff’s constitutional
rights


          63.   At all times material to this complaint, defendant THE CITY OF NEW YORK

had de facto policies, practices, customs and usages which were a direct and proximate cause of

the unconstitutional conduct alleged herein.



          64. At all times material to this complaint, defendant THE CITY OF NEW YORK

failed to properly train, screen, supervise, or discipline employees and police officers, and failed

to inform the individual defendants’ supervisors of their need to train, screen, supervise or
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discipline the individually named defendants . The policies, practices, customs, and usages

were a direct and proximate cause of the unconstitutional conduct alleged herein, causing injury

and damage in violation of plaintiff’s constitutional rights as guaranteed under 42 U.S.C. § 1983

and the United States Constitution, including its Fourth and Fourteenth Amendments.



         65. All of the foregoing acts by defendants deprived plaintiff of federally protected

constitutional rights, including but not limited to the right to:



          Not to be denied liberty without due process of law



          To not be subjected to false arrest and imprisonment.



          To be free from the use of excessive force, assault and summary punishment



          To have other officers intervene when a police officer abuses a civilian



          To be free from malicious prosecution.



          To be free from malicious abuse of process.



         66. As a result of the foregoing, plaintiff was deprived of liberty, suffered emotional

injury, pain and suffering, great humiliation, costs and expenses, and was otherwise damaged

and injured.
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               AS AND FOR A SEVENTH CLAIM ON BEHALF OF THE PLAINTIFF

                                         TYRA ROBINSON

                          Deprivation of Rights under 42 U.S.C. Section 1981 & 1983



                         67. The plaintiff repeats the foregoing allegations



                         68. Each, every and all of the aforementioned acts of defendants, their

agents, servants and employees were performed and carried out under color of law.

                         69. All of the above described acts deprived plaintiff TYRA ROBINSON

of the rights, privileges and immunities guaranteed to United States citizens by the Fourth and

Fourteenth Amendments to the United States Constitution and in violation of 42 U.S.C. Section

1983.

                        70. The acts which are the subject of this complaint were carried out by the

aforementioned individually named defendants, in their capacities as officers of the NYPD, with

the entire actual and or apparent authority attendant thereto, and with the intent to discriminate

on the basis of race.



                        70. The acts which are the subject of this complaint were performed by the

individually named defendants in their capacities as officers of the NYPD, pursuant to the

customs, practices, usages, procedures and rules if the CITY OF NEW YORK and the NYPD,

all under the supervision of ranking officers of said department.



                        71. Defendants, collectively and individually, while acting under color of

state law, engaged in conduct and actions that constituted a usage, custom, practice, procedure
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or rule of the respective municipal authority and defendant, THE CITY OF NEW YORK, which

is forbidden by the United States Constitution.

                   72. By reason of the foregoing, the plaintiff TYRA ROBINSON is entitled to

compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.



       AS AND FOR A EIGHTH CLAIM ON BEHALF OF TYRA ROBINSON



                       Assault & Excessive Force under 42 U.S.C. Section 1983



                         69. Plaintiff repeats the foregoing allegations.



                73. The Defendants assaulted the plaintiff TYRA ROBINSON without just

cause, used excessive force upon her, causing him to suffer physical and psychological injury.



                74. By reason of the foregoing, the plaintiff TYRA ROBINSON is entitled to

compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.




               AS AND FOR A NINTH CLAIM ON BEHALF OF TYRA ROBINSON
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                          False Arrest/Unlawful Imprisonment under 42 U.S.C. Section 1983



              75. Plaintiff repeats the foregoing allegations .



              76. The Defendants arrested the plaintiff TYRA ROBINSON without probable

cause, causing her to be detained against her will for an extended period of time and subjected

to physical restraints.



             77. The individually named defendants caused plaintiff TYRA ROBINSON to be

falsely arrested and unlawfully detained.



              78. By reason of the foregoing, the plaintiff TYRA ROBINSON is entitled to

compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.




        AS AND FOR A TENTH CLAIM ON BEHALF OF TYRA ROBINSON




                           Failure to Intervene under 42 U.S.C. Section 1983



                          79. The plaintiff incorporates by reference the allegations set forth in all
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preceding paragraphs as if fully set forth herein.




               80. The individual defendants had an affirmative duty and obligation to intervene

on behalf of the plaintiff whose constitutional rights were being violated in their presence and

with their knowledge.



               81. The defendants did not intervene to prevent or terminate the unlawful

conduct described herein.



               82. By reason of the foregoing the plaintiff had her liberty restricted for an

extended period of time, she was put in fear of her safety, and she was humiliated and subjected

to handcuffing and other physical restraints.



              83. By reason of the foregoing, the plaintiff TYRA ROBINSON is entitled to

compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.




       AS AND FOR A ELEVENTH CLAIM ON BEHALF OF TYRA

                                       ROBINSON

                 Supervisory Liability under 42 U.S.C. Section 1983
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                      84. The plaintiff incorporates by reference the allegations set forth in all

preceding paragraphs as if fully set forth herein



                      85.The supervisory defendants personally caused plaintiff’s constitutional

injury by being deliberately and/or consciously indifferent to the rights of citizens in failing to

properly train, select, supervise and discipline their employees



        .           86. By reason of the foregoing, the plaintiff TYRA ROBINSON is entitled

to compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.




                     AS AND FOR AN TWELFTH CLAIM ON BEHALF OF TYRA

                                              ROBINSON

                              Municipal Liability under 42 U.S.C. Section 1983

                                           MONELL VIOLATION

            87. The plaintiff incorporates by reference the allegations set forth in all preceding

paragraphs as if fully set forth herein.



        .    88. Defendants, individually and collectively, while acting under color of state law,

engaged in conduct that constituted a procedure, custom, usage, practice, rule and/or regulation

of the municipal authority THE CITY OF NEW YORK which violates the Constitution of the
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United States.



             89. The aforementioned procedures, customs, usage, practices, rules and/or

regulations of the NYPD includes, but is not limited to subjecting citizens to excessive force,

arresting people without probable cause and engaging in a practice of falsification to conceal

their abuse of authority. The wrongful acts include perjury and or lying under oath, known in the

NYPD as “testilying”, the planting of, and or perjurious statements with regard to controlled

substances , known in the NYPD as “flaking” and the making of false arrests to obtain overtime

compensation, known in the NYPD as “collars for dollars”



           90. In addition, the NYPD engaged in a practice policy or custom of inadequate

screening, hiring, investigation, retaining, training and supervision of its employees that was the

moving force behind the violation of the plaintiff’s rights as described in this complaint. By

reason of the failure of the CITY OF NEW YORK to properly recruit, screen, train discipline

and supervise its officers, including the individual defendants, In addition, despite receiving

countless notices of claim and complaints of the Supreme Court of the State of New York as

well as the United States District Courts for the Eastern and Southern Districts of New York,

and the names and docket numbers of some of these are set forth below, the defendant the

CITY OF NEW YORK has tacitly ratified and authorized the conduct complained of, and has

displayed deliberate indifference to the acts and conduct complained of herein.



          91 . That the City of New York, through a policy, practice or custom, directly caused

the constitutional violations suffered by the plaintiff.
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           92. The foregoing customs, policies usages, practices, procedures and rules of the

defendant the CITY OF NEW YORK constituted deliberate indifference to the safety, well

being and constitutional rights of the plaintiff.    .



           93. A number of members of the New York City Police Department have been

convicted of crimes involving corruption, perjury, making false allegations against civilians and

other criminal activity.



           94. In the year 2011, former Brooklyn South Narcotics Division officer Jerry Bowen

was convicted of homicide and attempted murder while he was under indictment for other

crimes.



           95. Former NYPD Commissioner Bernard Kerik was convicted of corruption related

crimes in connection with his employment with the NYPD and served time in federal prison.



          96. In Colon v the City of New York, Nos. 09 cv 8, 09 cv 9 (JBW) 2009WL 4263362

(EDNY November 25, 2009), the federal court stated that an “ informal inquiry by this court and

among the judges of this court, as well as knowledge of cases in other federal & state courts has

revealed anecdotal evidence of repeated, widespread falsification by arresting officers of the

NYPD.



           97. With respect to the individually named defendants, the defendant the CITY OF

NEW YORK had notice of the following actions brought in the US District Courts for the

Eastern and Southern Districts of New York. The defendant the CITY OF NEW YORK had
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actual notice of all these actions and those set forth in the preceding paragraphs since its Law

Department and Corporation Counsel filed notices of appearance in all these actions and

represented the defendants and /or settled all of same:




         98. Despite the foregoing, the City of New York exercised deliberate indifference to the

aforementioned abuses against civilians such as the plaintiffs by failing to take remedial action.

The City failed to properly train, retain supervise discipline and monitor the defendants ad other

members of the service guilty of similar abuses. Upon information and belief, the officers

involved in these and other similar matters have been the subject of numerous CCRB and IAB

complaints which the City has failed to properly investigate and/ or deliberately ignored.



          99. The City’s failure to act resulted in a violation of the plaintiff’s constitutional

rights



          100.   At all times material to this complaint, defendant THE CITY OF NEW YORK

had de facto policies, practices, customs and usages which were a direct and proximate cause of

the unconstitutional conduct alleged herein.



         101. At all times material to this complaint, defendant THE CITY OF NEW YORK

failed to properly train, screen, supervise, or discipline employees and police officers, and failed

to inform the individual defendants’ supervisors of their need to train, screen, supervise or

discipline the individually named defendants . The policies, practices, customs, and usages

were a direct and proximate cause of the unconstitutional conduct alleged herein, causing injury
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and damage in violation of plaintiff’s constitutional rights as guaranteed under 42 U.S.C. § 1983

and the United States Constitution, including its Fourth and Fourteenth Amendments.



        102. All of the foregoing acts by defendants deprived plaintiff of federally protected

constitutional rights, including but not limited to the right to:



          Not to be denied liberty without due process of law



          To not be subjected to false arrest and imprisonment.



          To be free from the use of excessive force, assault and summary punishment



          To have other officers intervene when a police officer abuses a civilian



          To be free from malicious prosecution.



          To be free from malicious abuse of process.




         103. As a result of the foregoing, plaintiff was deprived of liberty, suffered emotional

injury, pain and suffering, great humiliation, costs and expenses, and was otherwise damaged

and injured.

        AS AND FOR A THIRTEENTH CLAIM ON BEHALF OF THE PLAINTIFF

                                      KIMBERLY BROWER
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                          Deprivation of Rights under 42 U.S.C. Section 1981 & 1983



                         104. The plaintiff repeats the foregoing allegations



                         105. Each, every and all of the aforementioned acts of defendants, their

agents, servants and employees were performed and carried out under color of law.

                         106. All of the above described acts deprived plaintiff KIMBERLEY

BROWER of the rights, privileges and immunities guaranteed to United States citizens by the

Fourth and Fourteenth Amendments to the United States Constitution and in violation of 42

U.S.C. Section 1983.

                        107. The acts which are the subject of this complaint were carried out by the

aforementioned individually named defendants, in their capacities as officers of the NYPD, with

the entire actual and or apparent authority attendant thereto, and with the intent to discriminate

on the basis of race.



                        108. The acts which are the subject of this complaint were performed by the

individually named defendants in their capacities as officers of the NYPD, pursuant to the

customs, practices, usages, procedures and rules if the CITY OF NEW YORK and the NYPD,

all under the supervision of ranking officers of said department.



                        109. Defendants, collectively and individually, while acting under color of

state law, engaged in conduct and actions that constituted a usage, custom, practice, procedure

or rule of the respective municipal authority and defendant, THE CITY OF NEW YORK, which

is forbidden by the United States Constitution.
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                  110. By reason of the foregoing, the plaintiff KIMBERLEY BROWER is

entitled to compensatory damages in a sum to be decided by a jury, and is further entitled to

punitive damages against the individual defendants in an amount to be determined by a jury,

and, in addition, reasonable attorney’s fees, costs and disbursements of this action.



       AS AND FOR A FOURTEENTH CLAIM ON BEHALF OF KIMBERLY

                                         BROWER

                       Assault & Excessive Force under 42 U.S.C. Section 1983



                111. Plaintiff repeats the foregoing allegations.



                112. The Defendants assaulted the plaintiff KIMBERLEY BROWER without

just cause, used excessive force upon her, causing him to suffer physical and psychological

injury. This included, but was not limited to, placing her in excessively tight handcuffs.



               113. By reason of the foregoing, the plaintiff KIMBERLEY BROWER is

entitled to compensatory damages in a sum to be decided by a jury, and is further entitled to

punitive damages against the individual defendants in an amount to be determined by a jury,

and, in addition, reasonable attorney’s fees, costs and disbursements of this action.




       AS AND FOR A FIFTEENTH CLAIM ON BEHALF OF KIMBERLY BROWER

                       False Arrest/Unlawful Imprisonment under 42 U.S.C. Section 1983
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                       114. Plaintiff repeats the foregoing allegations .



                       115. The Defendants arrested the plaintiff KIMBERLEY BROWER

without probable cause, causing her to be detained against her will for an extended period of

time and subjected to physical restraints.



                        116. The individually named defendants caused plaintiff KIMBERLEY

BROWER to be falsely arrested and unlawfully detained.



                      117. By reason of the foregoing, the plaintiff KIMBERLEY BROWER is

entitled to compensatory damages in a sum to be decided by a jury, and is further entitled to

punitive damages against the individual defendants in an amount to be determined by a jury,

and, in addition, reasonable attorney’s fees, costs and disbursements of this action.



       AS AND FOR A SIXTEENTH CLAIM ON BEHALF OF KIMBERLY BROWER

                        Failure to Intervene under 42 U.S.C. Section 1983



                   118. The plaintiff incorporates by reference the allegations set forth in all

preceding paragraphs as if fully set forth herein.




                119. The individual defendants had an affirmative duty and obligation to

intervene on behalf of the plaintiff whose constitutional rights were being violated in their

presence and with their knowledge.
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               120. The defendants did not intervene to prevent or terminate the unlawful

conduct described herein.



               121. By reason of the foregoing the plaintiff had her liberty restricted for an

extended period of time, she was put in fear of his safety, and she was humiliated and subjected

to handcuffing and other physical restraints.




             122. By reason of the foregoing, the plaintiff KIMBERLEY BROWER is entitled

to compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.



       AS AND FOR A SEVENTEENTH CLAIM ON BEHALF OF KIMBERLY

                                   BROWER

               Supervisory Liability under 42 U.S.C. Section 1983



                     123. The plaintiff incorporates by reference the allegations set forth in all

preceding paragraphs as if fully set forth herein



                    124.The supervisory defendants personally caused plaintiff’s constitutional

injury by being deliberately and/or consciously indifferent to the rights of citizens in failing to

properly train, select, supervise and discipline their employees
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        .             125. By reason of the foregoing, the plaintiff KIMBERLEY BROWER is

entitled to compensatory damages in a sum to be decided by a jury, and is further entitled to

punitive damages against the individual defendants in an amount to be determined by a jury,

and, in addition, reasonable attorney’s fees, costs and disbursements of this action.



         AS AND FOR AN EIGHTEENTH CLAIM ON BEHALF OF KIMBERLY

                                           BROWER

                      Municipal Liability under 42 U.S.C. Section 1983

                                   MONELL VIOLATION




             126. The plaintiff incorporates by reference the allegations set forth in all preceding

paragraphs as if fully set forth herein.



        . 127. Defendants, individually and collectively, while acting under color of state law,

engaged in conduct that constituted a procedure, custom, usage, practice, rule and/or regulation

of the municipal authority THE CITY OF NEW YORK which violates the Constitution of the

United States.

            128. The aforementioned procedures, customs, usage, practices, rules and/or

regulations of the NYPD includes, but is not limited to subjecting citizens to excessive force,

arresting people without probable cause and engaging in a practice of falsification to conceal

their abuse of authority. The wrongful acts include perjury and or lying under oath, known in the

NYPD as “testilying”, the planting of, and or perjurious statements with regard to controlled

substances , known in the NYPD as “flaking” and the making of false arrests to obtain overtime
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compensation, known in the NYPD as “collars for dollars”

           129. In addition, the NYPD engaged in a practice policy or custom of inadequate

screening, hiring, investigation, retaining, training and supervision of its employees that was the

moving force behind the violation of the plaintiff’s rights as described in this complaint. By

reason of the failure of the CITY OF NEW YORK to properly recruit, screen, train discipline

and supervise its officers, including the individual defendants, In addition, despite receiving

countless notices of claim and complaints of the Supreme Court of the State of New York as

well as the United States District Courts for the Eastern and EASTERN Districts of New York,

and the names and docket numbers of some of these are set forth below, the defendant the

CITY OF NEW YORK has tacitly ratified and authorized the conduct complained of, and has

displayed deliberate indifference to the acts and conduct complained of herein.



           130. That the City of New York, through a policy, practice or custom, directly caused

the constitutional violations suffered by the plaintiff.

          131. The foregoing customs, policies usages, practices, procedures and rules of the

defendant the CITY OF NEW YORK constituted deliberate indifference to the safety, well

being and constitutional rights of the plaintiff.    .



          132. A number of members of the New York City Police Department have been

convicted of crimes involving corruption, perjury, making false allegations against civilians and

other criminal activity.

          133. In the year 2011, former Brooklyn South Narcotics Division officer Jerry Bowen

was convicted of homicide and attempted murder while he was under indictment for other

crimes.
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        134. Former NYPD Commissioner Bernard Kerik was convicted of corruption related

crimes in connection with his employment with the NYPD and served time in federal prison.



        135. In Colon v the City of New York, Nos. 09 cv 8, 09 cv 9 (JBW) 2009WL 4263362

(EDNY November 25, 2009), the federal court stated that an “ informal inquiry by this court and

among the judges of this court, as well as knowledge of cases in other federal & state courts has

revealed anecdotal evidence of repeated, widespread falsification by arresting officers of the

NYPD.



        136. With respect to the individually named defendants, the defendant the CITY OF

NEW YORK had notice of the following actions brought in the US District Courts for the

Eastern and Southern Districts of New York. The defendant the CITY OF NEW YORK had

actual notice of all these actions and those set forth in the preceding paragraphs since its Law

Department and Corporation Counsel filed notices of appearance in all these actions and

represented the defendants and /or settled all of same:




        137. Despite the foregoing, the City of New York exercised deliberate indifference to the

aforementioned abuses against civilians such as the plaintiffs by failing to take remedial action.

The City failed to properly train, retain supervise discipline and monitor the defendants ad other

members of the service guilty of similar abuses. Upon information and belief, the officers

involved in these and other similar matters have been the subject of numerous CCRB and IAB

complaints which the City has failed to properly investigate and/ or deliberately ignored.
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        138. The City’s failure to act resulted in a violation of the plaintiff’s constitutional rights



        139.   At all times material to this complaint, defendant THE CITY OF NEW YORK

had de facto policies, practices, customs and usages which were a direct and proximate cause of

the unconstitutional conduct alleged herein.



        140. At all times material to this complaint, defendant THE CITY OF NEW YORK

failed to properly train, screen, supervise, or discipline employees and police officers, and failed

to inform the individual defendants’ supervisors of their need to train, screen, supervise or

discipline the individually named defendants . The policies, practices, customs, and usages

were a direct and proximate cause of the unconstitutional conduct alleged herein, causing injury

and damage in violation of plaintiff’s constitutional rights as guaranteed under 42 U.S.C. § 1983

and the United States Constitution, including its Fourth and Fourteenth Amendments.



        141. All of the foregoing acts by defendants deprived plaintiff of federally protected

constitutional rights, including but not limited to the right to:



          Not to be denied liberty without due process of law



          To not be subjected to false arrest and imprisonment.



          To be free from the use of excessive force, assault and summary punishment



          To have other officers intervene when a police officer abuses a civilian
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         To be free from malicious prosecution.



         To be free from malicious abuse of process.




       142. As a result of the foregoing, plaintiff was deprived of liberty, suffered emotional

injury, pain and suffering, great humiliation, costs and expenses, and was otherwise damaged

and injured.

        AS AND FOR A NINETEENTH CLAIM ON BEHALF OF THE PLAINTIFF

                                     RAVENNE HINDS

                        Deprivation of Rights under 42 U.S.C. Section 1981 & 1983



        143. The plaintiff repeats the foregoing allegations



       144. Each, every and all of the aforementioned acts of defendants, their agents, servants

and employees were performed and carried out under color of law.

       145. All of the above described acts deprived plaintiff RAVENNE HINDS of the rights,

privileges and immunities guaranteed to United States citizens by the Fourth and Fourteenth

Amendments to the United States Constitution and in violation of 42 U.S.C. Section 1983.

        146. The acts which are the subject of this complaint were carried out by the

aforementioned individually named defendants, in their capacities as officers of the NYPD, with

the entire actual and or apparent authority attendant thereto, and with the intent to discriminate

on the basis of race.
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       147. The acts which are the subject of this complaint were performed by the individually

named defendants in their capacities as officers of the NYPD, pursuant to the customs,

practices, usages, procedures and rules if the CITY OF NEW YORK and the NYPD, all under

the supervision of ranking officers of said department.



       148. Defendants, collectively and individually, while acting under color of state law,

engaged in conduct and actions that constituted a usage, custom, practice, procedure or rule of

the respective municipal authority and defendant, THE CITY OF NEW YORK, which is

forbidden by the United States Constitution.

       149. By reason of the foregoing, the plaintiff RAVENNE HINDS is entitled to

compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.



       AS AND FOR A TWENTIETH CLAIM ON BEHALF OF RAVENNE HINDS

               Excessive Force under 42 U.S.C. Section 1983



       150. Plaintiff repeats the foregoing allegations.



       151. The Defendants assaulted the plaintiff RAVENNE HINDS without just cause, used

excessive force upon her, causing him to suffer physical and psychological injury. This

included, but was not limited to, placing her in excessively tight handcuffs.



       152. By reason of the foregoing, the plaintiff RAVENNE HINDS is entitled to
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compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.




        AS AND FOR A TWENTY-FIRST CLAIM ON BEHALF OF RAVENNE HINDS

                False Arrest/Unlawful Imprisonment under 42 U.S.C. Section 1983



           153. Plaintiff repeats the foregoing allegations .



           154. The Defendants arrested the plaintiff RAVENNE HINDS without probable

cause, causing her to be detained against her will for an extended period of time and subjected

to physical restraints.



            155. The individually named defendants caused plaintiff RAVENNE HINDS to be

falsely arrested and unlawfully detained.



           156. By reason of the foregoing, the plaintiff RAVENNE HINDS is entitled to

compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.



        AS AND FOR A TWENTY-SECOND CLAIM ON BEHALF OF RAVENNE

                                   HINDS
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                         Failure to Intervene under 42 U.S.C. Section 1983



          157. The plaintiff incorporates by reference the allegations set forth in all preceding

paragraphs as if fully set forth herein.




         158. The individual defendants had an affirmative duty and obligation to intervene on

behalf of the plaintiff whose constitutional rights were being violated in their presence and with

their knowledge.



        159. The defendants did not intervene to prevent or terminate the unlawful conduct

described herein.



        160. By reason of the foregoing the plaintiff had her liberty restricted for an extended

period of time, she was put in fear of his safety, and she was humiliated and subjected to

handcuffing and other physical restraints.




        161. By reason of the foregoing, the plaintiff RAVENNE HINDS is entitled to

compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.



        AS AND FOR A TWENTY-THIRD CLAIM ON BEHALF OF RAVENNE HINDS
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                Supervisory Liability under 42 U.S.C. Section 1983



           162. The plaintiff incorporates by reference the allegations set forth in all preceding

paragraphs as if fully set forth herein



           163. The supervisory defendants personally caused plaintiff’s constitutional injury by

being deliberately and/or consciously indifferent to the rights of citizens in failing to properly

train, select, supervise and discipline their employees



        164. By reason of the foregoing, the plaintiff RAVENNE HINDS is entitled to

compensatory damages in a sum to be decided by a jury, and is further entitled to punitive

damages against the individual defendants in an amount to be determined by a jury, and, in

addition, reasonable attorney’s fees, costs and disbursements of this action.



        AS AND FOR AN TWENTY-FOURTH CLAIM ON BEHALF OF RAVENNE

                                           HINDS

                    Municipal Liability under 42 U.S.C. Section 1983

                                  MONELL VIOLATION




        165. The plaintiff incorporates by reference the allegations set forth in all preceding

paragraphs as if fully set forth herein.



        166. Defendants, individually and collectively, while acting under color of state law,
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engaged in conduct that constituted a procedure, custom, usage, practice, rule and/or regulation

of the municipal authority THE CITY OF NEW YORK which violates the Constitution of the

United States.

       167. The aforementioned procedures, customs, usage, practices, rules and/or regulations

of the NYPD includes, but is not limited to subjecting citizens to excessive force, arresting

people without probable cause and engaging in a practice of falsification to conceal their abuse

of authority. The wrongful acts include perjury and or lying under oath, known in the NYPD as

“testilying”, the planting of, and or perjurious statements with regard to controlled substances ,

known in the NYPD as “flaking” and the making of false arrests to obtain overtime

compensation, known in the NYPD as “collars for dollars”

       168. In addition, the NYPD engaged in a practice policy or custom of inadequate

screening, hiring, investigation, retaining, training and supervision of its employees that was the

moving force behind the violation of the plaintiff’s rights as described in this complaint. By

reason of the failure of the CITY OF NEW YORK to properly recruit, screen, train discipline

and supervise its officers, including the individual defendants, In addition, despite receiving

countless notices of claim and complaints of the Supreme Court of the State of New York as

well as the United States District Courts for the Eastern and EASTERN Districts of New York,

and the names and docket numbers of some of these are set forth below, the defendant the

CITY OF NEW YORK has tacitly ratified and authorized the conduct complained of, and has

displayed deliberate indifference to the acts and conduct complained of herein.



         169. That the City of New York, through a policy, practice or custom, directly caused

the constitutional violations suffered by the plaintiff.

       170. The foregoing customs, policies usages, practices, procedures and rules of the
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defendant the CITY OF NEW YORK constituted deliberate indifference to the safety, well

being and constitutional rights of the plaintiff.   .



          171. A number of members of the New York City Police Department have been

convicted of crimes involving corruption, perjury, making false allegations against civilians and

other criminal activity.

          172. In the year 2011, former Brooklyn South Narcotics Division officer Jerry Bowen

was convicted of homicide and attempted murder while he was under indictment for other

crimes.

          173. Former NYPD Commissioner Bernard Kerik was convicted of corruption related

crimes in connection with his employment with the NYPD and served time in federal prison.



          174. In Colon v the City of New York, Nos. 09 cv 8, 09 cv 9 (JBW) 2009WL 4263362

(EDNY November 25, 2009), the federal court stated that an “ informal inquiry by this court and

among the judges of this court, as well as knowledge of cases in other federal & state courts has

revealed anecdotal evidence of repeated, widespread falsification by arresting officers of the

NYPD.



          175. With respect to the individually named defendants, the defendant the CITY OF

NEW YORK had notice of the following actions brought in the US District Courts for the

Eastern and Southern Districts of New York. The defendant the CITY OF NEW YORK had

actual notice of all these actions and those set forth in the preceding paragraphs since its Law

Department and Corporation Counsel filed notices of appearance in all these actions and

represented the defendants and /or settled all of same:
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        176. Despite the foregoing, the City of New York exercised deliberate indifference to the

aforementioned abuses against civilians such as the plaintiffs by failing to take remedial action.

The City failed to properly train, retain supervise discipline and monitor the defendants ad other

members of the service guilty of similar abuses. Upon information and belief, the officers

involved in these and other similar matters have been the subject of numerous CCRB and IAB

complaints which the City has failed to properly investigate and/ or deliberately ignored.

        177. The City’s failure to act resulted in a violation of the plaintiff’s constitutional rights



        178.   At all times material to this complaint, defendant THE CITY OF NEW YORK

had de facto policies, practices, customs and usages which were a direct and proximate cause of

the unconstitutional conduct alleged herein.



        179. At all times material to this complaint, defendant THE CITY OF NEW YORK

failed to properly train, screen, supervise, or discipline employees and police officers, and failed

to inform the individual defendants’ supervisors of their need to train, screen, supervise or

discipline the individually named defendants . The policies, practices, customs, and usages

were a direct and proximate cause of the unconstitutional conduct alleged herein, causing injury

and damage in violation of plaintiff’s constitutional rights as guaranteed under 42 U.S.C. § 1983

and the United States Constitution, including its Fourth and Fourteenth Amendments.



        180. All of the foregoing acts by defendants deprived plaintiff of federally protected

constitutional rights, including but not limited to the right to:
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           Not to be denied liberty without due process of law



          To not be subjected to false arrest and imprisonment.



          To be free from the use of excessive force, assault and summary punishment



          To have other officers intervene when a police officer abuses a civilian



          To be free from malicious prosecution.



          To be free from malicious abuse of process.




        181. As a result of the foregoing, plaintiff was deprived of liberty, suffered emotional

injury, pain and suffering, great humiliation, costs and expenses, and was otherwise damaged

and injured.



            WHEREFORE, the plaintiffs respectfully prey to the court for judgment upon each

cause of action as follows:

                   a. Compensatory damages in an amount which this Court shall consider to be

just and fair:

                    b. Punitive and exemplary damages in an amount which this Court shall

consider to be just & fair;

                    c. Attorney’s fees in an amount which this Court shall consider just & fair;
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                   d. Together with the costs and disbursements of this action and such other

and further relief which this Court may seem just & proper.



       DATED: BROOKLYN, NY

                 August 9, 2017.

                     .                This is an electronic signature

                                --------------/s/------------------------------
                                               MICHAEL COLIHAN (MC-0826)
                                               Attorney for the Plaintiff
                                               44 Court Street
                                               Suite 906
                                               Brooklyn, NY 11201
                                               (718) 488-7788
